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                                                                           Pg 1 of 72
Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Michael Paul Enterprises LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  c/o Aspen Management Group LLC
                                  3140 East Tremont Avenue
                                  2nd Floor
                                  Bronx, NY 10461
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Bronx                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor
                                                                              Pg 2 of 72    Case number (if known)
          Michael Paul Enterprises LLC
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                          Case number
                                                  District                                 When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,                                                                                                              Managing
     attach a separate list                       Debtor     Michael P. D'Alessio                                       Relationship              Member
                                                             Southern District of
                                                  District   New York                      When       4/17/18           Case number, if known     18-22552



Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor
                                                                           Pg 3 of 72    Case number (if known)
         Michael Paul Enterprises LLC
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor
                                                                          Pg 4 of 72    Case number (if known)
          Michael Paul Enterprises LLC
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 30, 2018
                                                  MM / DD / YYYY


                             X   /s/ Michael P. D'Alessio                                                Michael P. D'Alessio
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   Managing Member




18. Signature of attorney    X   /s/ Sanford P. Rosen                                                     Date May 30, 2018
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Sanford P. Rosen (SR-4966)
                                 Printed name

                                 Rosen & Associates, P.C.
                                 Firm name

                                 747 Third Avenue
                                 Floor 20
                                 New York, NY 10017-2803
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (212) 223-1100                Email address      srosen@rosenpc.com

                                 (SR-4966) NY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name         Michael Paul Enterprises LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          May 30, 2018                            X /s/ Michael P. D'Alessio
                                                                       Signature of individual signing on behalf of debtor

                                                                       Michael P. D'Alessio
                                                                       Printed name

                                                                       Managing Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                                                        Pg 6 of 72
 Fill in this information to identify the case:

 Debtor name            Michael Paul Enterprises LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        4,511,463.21

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        4,511,463.21


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       10,843,143.43


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         10,843,143.43




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                                                                             Pg 7 of 72
 Fill in this information to identify the case:

 Debtor name         Michael Paul Enterprises LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Signature Bank                                          Checking                        8216                                     $2,593.00




           3.2.     The Westchester Bank                                    Checking                        2633                                             $0.00




           3.3.     The Westchester Bank                                    Checking                        2666                                             $0.00




           3.4.     Greater Hudson Bank                                     Checking                        2708                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $2,593.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor           Michael Paul Enterprises LLC                                                 Case number (If known)
                  Name

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     12 Water Street Associates LLC                                                                                          $4,336.67



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                            $4,336.67
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                            855,243.92   -                                0.00 = ....                $855,243.92
                                              face amount                        doubtful or uncollectible accounts




           11b. Over 90 days old:                            3,649,289.62    -                               0.00 =....               $3,649,289.62
                                              face amount                        doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                         $4,504,533.54
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:          Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:          Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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 Debtor         Michael Paul Enterprises LLC                                                  Case number (If known)
                Name

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
            Include year, make, model, and identification numbers             debtor's interest      for current value       debtor's interest
            (i.e., VIN, HIN, or N-number)                                     (Where available)

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

            47.1.    2015 GMC Savana
                     1GTZ7TCG6F1113466                                                      $0.00                                        Unknown



 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)

 51.        Total of Part 8.                                                                                                              $0.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor's interest


 71.        Notes receivable
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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 Debtor         Michael Paul Enterprises LLC                                                 Case number (If known)
                Name

           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

           Grotto Plumbing                                                                                                                  $0.00
           Nature of claim                     Breach of contract
           Amount requested                                $2,000,000.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                             $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 4
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                                                                                          Pg 11 of 72
 Debtor          Michael Paul Enterprises LLC                                                                        Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $2,593.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $4,336.67

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $4,504,533.54

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $4,511,463.21            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $4,511,463.21




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 5
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                                                                         Pg 12 of 72
 Fill in this information to identify the case:

 Debtor name         Michael Paul Enterprises LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
            18-20004-rdd                 Doc 1          Filed 05/30/18          Entered 05/30/18 17:39:34                               Main Document
                                                                               Pg 13 of 72
 Fill in this information to identify the case:

 Debtor name         Michael Paul Enterprises LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $119,641.73
           Adam Leitman Bailey PC                                               Contingent
           One Battery Park                                                     Unliquidated
           New York, NY 10271                                                   Disputed
           Date(s) debt was incurred 9/1/2017, 7/1/2017
                                                                             Basis for the claim:    Legal fees
           Last 4 digits of account number 3002,003,004,d005
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $19,000.00
           AirSeal Insulation Systems                                           Contingent
           1961 Utica Avenue                                                    Unliquidated
           Brooklyn, NY 11234                                                   Disputed
           Date(s) debt was incurred 2/21/2017
                                                                             Basis for the claim:    Trade debt - 323 East 53rd Associates LLC
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $14,233.09
           All Star Security & Communications Inc.                              Contingent
           P.O. Box 494                                                         Unliquidated
           Fishkill, NY 12524                                                   Disputed
           Date(s) debt was incurred 3/23/2017
                                                                             Basis for the claim:    Trade debt - 323 East 53rd Associates LLC
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $32,000.00
           Allstate Sprinkler Corp.                                             Contingent
           1869 White Plains Rd.                                                Unliquidated
           Bronx, NY 10462                                                      Disputed
           Date(s) debt was incurred 7/27/2016
                                                                             Basis for the claim:    Trade debt - 323 East 53rd Associates LLC
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




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 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,500.00
          Allstate Sprinkler Corp.                                              Contingent
          1869 White Plains Rd.                                                 Unliquidated
          Bronx, NY 10462                                                       Disputed
          Date(s) debt was incurred 10/2/2017
                                                                             Basis for the claim:    Trade debt - 163-165 East 62nd Street Associates
          Last 4 digits of account number                                    LLC
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,996.41
          Ally                                                                  Contingent
          P.O. Box 9001948                                                      Unliquidated
          Louisville, KY 40290                                                  Disputed
          Date(s) debt was incurred  6/29/15                                 Basis for the claim:    Auto Lease
          Last 4 digits of account number 5845
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Angelo Spray Foam Corp.                                               Contingent
          22 Sherman Avenue                                                     Unliquidated
          Suite 4L                                                              Disputed
          New York, NY 10040
                                                                             Basis for the claim:    Trade debt - 17 Circle Rd - MBI LLC
          Date(s) debt was incurred 12/12/2017
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,000.00
          Bank of America                                                       Contingent
          P.O. Box 982238                                                       Unliquidated
          El Paso, TX 79998                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit card purchases and cash advances
          Last 4 digits of account number       4839
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,789.46
          Blackman Plumbing                                                     Contingent
          PO Box 9400                                                           Unliquidated
          Uniondale, NY 11555-9400                                              Disputed
          Date(s) debt was incurred 11/8/2017
                                                                             Basis for the claim:    Trade debt - 323 East 53rd Associates LLC
          Last 4 digits of account number 5343
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,536.75
          Blue Tarp Financial Inc.                                              Contingent
          PO Box 105525                                                         Unliquidated
          Atlanta, GA 30348                                                     Disputed
          Date(s) debt was incurred 1/29/2018
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number 1329
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $724.84
          Boston Road Equipment Rental                                          Contingent
          3211 Boston Post Road                                                 Unliquidated
          Bronx, NY 10469                                                       Disputed
          Date(s) debt was incurred 11/6/2017
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number 1800
                                                                             Is the claim subject to offset?     No       Yes




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 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,768.59
          Braga Hardwood Flooring Inc.                                          Contingent
          89 Trenton Avenue                                                     Unliquidated
          White Plains, NY 10606                                                Disputed
          Date(s) debt was incurred 5/8/2017
                                                                             Basis for the claim:    Trade debt - 336 East 54 Street Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $3,234,975.00
          Bridgehampton National Bank                                           Contingent
          2200 Montauk Highway                                                  Unliquidated
          Bridgehampton, NY 11932                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Line of credit
          Last 4 digits of account number       6168
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,237.40
          Cancos Tile and Stone                                                 Contingent
          1085 Portion Road                                                     Unliquidated
          Farmingville, NY 11738                                                Disputed
          Date(s) debt was incurred 6/1/2017
                                                                             Basis for the claim:    Trade debt - 336 East 54th Street Associates LLC
          Last 4 digits of account number 4956
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,981.35
          Cancos Tile and Stone                                                 Contingent
          1085 Portion Road                                                     Unliquidated
          Farmingville, NY 11738                                                Disputed
          Date(s) debt was incurred 10/18/2018
                                                                             Basis for the claim:    Trade debt - 184 East 64th Street Associates LLC
          Last 4 digits of account number 64th
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,553.91
          Capital Industries Corp.                                              Contingent
          555 Saw Mill River Rd.                                                Unliquidated
          Yonkers, NY 10701                                                     Disputed
          Date(s) debt was incurred 2/20/2018
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $160,500.00
          Carefree Air & Water Management Inc.                                  Contingent
          199 Merrick Rd.                                                       Unliquidated
          Lynbrook, NY 11563                                                    Disputed
          Date(s) debt was incurred 1/27/2017
                                                                             Basis for the claim:    Trade debt - 323 East 53rd Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $31,201.17
          Carefree Air & Water Management Inc.                                  Contingent
          199 Merrick Rd.                                                       Unliquidated
          Lynbrook, NY 11563                                                    Disputed
          Date(s) debt was incurred 8/11/2017
                                                                             Basis for the claim:    Trade debt - 184 East 64th Street Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $33,636.25
          Carefree Air & Water Management Inc.                                  Contingent
          199 Merrick Rd.                                                       Unliquidated
          Lynbrook, NY 11563                                                    Disputed
          Date(s) debt was incurred 8/11/2017
                                                                             Basis for the claim:    Trade debt - 336 East 54th Street Associates LLC.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $121,295.00
          Case's Creek                                                          Contingent
          P.O. box 56                                                           Unliquidated
          Jamesport, NY 11947                                                   Disputed
          Date(s) debt was incurred 9/19/2017
                                                                             Basis for the claim:    Trade debt - 41-45 MPR Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $150,000.00
          Celtic Services NYC Inc.                                              Contingent
          156 Mt. Vernon Avenue                                                 Unliquidated
          Suite 210                                                             Disputed
          Mount Vernon, NY 10550
                                                                             Basis for the claim:    Trade debt - 163-165 East 62nd Street Associates
          Date(s) debt was incurred 9/10/2015
                                                                             LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $79,000.00
          City Ironsmith Corp.                                                  Contingent
          131-14 Sanford Avenue                                                 Unliquidated
          Flushing, NY 11355                                                    Disputed
          Date(s) debt was incurred 10/17/2016
                                                                             Basis for the claim:    Trade debt - 323 East 53rd Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $103,612.00
          City Ironsmith Corp.                                                  Contingent
          131-14 Sanford Avenue                                                 Unliquidated
          Flushing, NY 11355                                                    Disputed
          Date(s) debt was incurred 5/21/2015
                                                                             Basis for the claim:    Trade debt - 336 East 54th Street Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $46,163.48
          Consolidated Scaffold & Bridge Corp.                                  Contingent
          3969 Merritt Avenue                                                   Unliquidated
          Bronx, NY 10466                                                       Disputed
          Date(s) debt was incurred 1/29/2018
                                                                             Basis for the claim:    Trade debt - 323 East 53rd Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,781.18
          Cuddy & Feder LLP                                                     Contingent
          445 Hamilton Avenue                                                   Unliquidated
          White Plains, NY 10601                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,722.94
          Cuddy & Feder LLP                                                     Contingent
          445 Hamilton Avenue                                                   Unliquidated
          White Plains, NY 10601                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal fees - Katsura Consulting Group LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,060.11
          Cuddy & Feder LLP                                                     Contingent
          445 Hamilton Avenue                                                   Unliquidated
          White Plains, NY 10601                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal fees - Beechwood 5 Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,137.42
          Cuddy & Feder LLP                                                     Contingent
          445 Hamilton Avenue                                                   Unliquidated
          White Plains, NY 10601                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal fees - 15 Circle Rd - MBI LLC & 17 Circle Rd -
          Last 4 digits of account number                                    MBI LLC
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,500.00
          Daimler Construction LLC                                              Contingent
          155 Fox Hill Drive                                                    Unliquidated
          Hackettstown, NJ 07840                                                Disputed
          Date(s) debt was incurred 8/11/2017
                                                                             Basis for the claim:    Trade debt - 17 Circle Rd - MBI LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,880.00
          Daimler Construction LLC                                              Contingent
          155 Fox Hill Drive                                                    Unliquidated
          Hackettstown, NJ 07840                                                Disputed
          Date(s) debt was incurred 1/29/2018
                                                                             Basis for the claim:    Trade debt - 184 East 64th Street Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,860.00
          Daimler Construction LLC                                              Contingent
          155 Fox Hill Drive                                                    Unliquidated
          Hackettstown, NJ 07840                                                Disputed
          Date(s) debt was incurred 1/29/2018
                                                                             Basis for the claim:    Trade debt - 323 East 53rd Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,000.00
          Danisi Energy Company                                                 Contingent
          3205 Route 112                                                        Unliquidated
          Medford, NY 11763                                                     Disputed
          Date(s) debt was incurred 12/23/2015
                                                                             Basis for the claim:    Trade debt - 39 Middle Pond Road Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,430.87
          Decorama Building & Plumbing Supply                                   Contingent
          1233 Metropolitan Avenue                                              Unliquidated
          Brooklyn, NY 11237                                                    Disputed
          Date(s) debt was incurred 12/20/2017
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number 1270
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $898.87
          Despatch of Southampton M & S LLC                                     Contingent
          370 County Road 39                                                    Unliquidated
          Suite 4                                                               Disputed
          Southampton, NY 11968
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 4/3/2018
          Last 4 digits of account number 4701                               Is the claim subject to offset?     No       Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $56,582.92
          Dominick R. Pilla Associates PC                                       Contingent
          23 Depew Avenue                                                       Unliquidated
          Nyack, NY 10960                                                       Disputed
          Date(s) debt was incurred 10/2015
                                                                             Basis for the claim:    Trade debt - 163-165 East 62nd Street Associates
          Last 4 digits of account number                                    LLC
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,893.86
          Dominick R. Pilla Associates PC                                       Contingent
          23 Depew Avenue                                                       Unliquidated
          Nyack, NY 10960                                                       Disputed
          Date(s) debt was incurred 4/2017
                                                                             Basis for the claim:    Trade debt - 3 Sandpiper Court LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,355.55
          Dominick R. Pilla Associates PC                                       Contingent
          23 Depew Avenue                                                       Unliquidated
          Nyack, NY 10960                                                       Disputed
          Date(s) debt was incurred 3/2018
                                                                             Basis for the claim:    Trade debt - 323 East 53rd Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $59,000.00
          DWS Interiors Inc.                                                    Contingent
          PO Box 2                                                              Unliquidated
          Water Mill, NY 11976                                                  Disputed
          Date(s) debt was incurred      1/19/2018                           Basis for the claim:    Trade debt - 323 East 53rd Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,700.00
          DWS Interiors Inc.                                                    Contingent
          PO Box 2                                                              Unliquidated
          Water Mill, NY 11976                                                  Disputed
          Date(s) debt was incurred      2/13/2018                           Basis for the claim:    Trade debt - 17 Circle Rd - MBI LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $55,000.00
          East End Courtry Kitchens Cabinets Inc.                               Contingent
          121 Edwards Avenue                                                    Unliquidated
          Calverton, NY 11933                                                   Disputed
          Date(s) debt was incurred 1/27/2017
                                                                             Basis for the claim:    Trade debt - 336 East 54th Street Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,000.00
          Eastern Metal Works Inc.                                              Contingent
          333 Woodmont Rd.                                                      Unliquidated
          Milford, CT 06460                                                     Disputed
          Date(s) debt was incurred 10/3/2017
                                                                             Basis for the claim:    Trade debt - 17 Circle Rd - MBI LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $750.00
          Edge & Corner Tile & Marble                                           Contingent
          362 Decatur Avenue                                                    Unliquidated
          Shirley, NY 11967                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - 39 Middle Pond Road Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,901.35
          Edward M. Shapiro, Attonrey at Law                                    Contingent
          255 Broadway                                                          Unliquidated
          Suite 1515                                                            Disputed
          New York, NY 10007
                                                                             Basis for the claim:    Legal fees
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $825.00
          Erwin & Bielinski, PLLC                                               Contingent
          37 West 39th St                                                       Unliquidated
          Suite 1201                                                            Disputed
          New York, NY 10018
                                                                             Basis for the claim:    Trade debt - 323 East 53rd Associates LLC
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,261.76
          Feldman Lumber                                                        Contingent
          1281 Metropolitan Avenue                                              Unliquidated
          Brooklyn, NY 11237                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number       0160
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,500.00
          Fort Cica                                                             Contingent
          720 East 141st Street                                                 Unliquidated
          Bronx, NY 10454                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - 184 East 64th Street Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Fort Cica                                                             Contingent
          720 East 141st Street                                                 Unliquidated
          Bronx, NY 10454                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - 336 East 54th Street Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Gabor M. Szakal Consulting Engineers, PC                              Contingent
          54 West 21st St.                                                      Unliquidated
          New York, NY 10010                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - 163-165 East 62nd Street Associates
          Last 4 digits of account number                                    LLC
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,900.00
          Gabriel E. Senor, P.C.                                                Contingent
          90 N Central Avenue                                                   Unliquidated
          Suite 104                                                             Disputed
          Hartsdale, NY 10530
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,484.53
          GC Warehouse LLC                                                      Contingent
          515 S 4th Avenue                                                      Unliquidated
          Mount Vernon, NY 10550                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number       312
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,600.00
          Geoland Corp.                                                         Contingent
          1317 Park Avenue                                                      Unliquidated
          New Hyde Park, NY 11040                                               Disputed
          Date(s) debt was incurred 12/21/2017
                                                                             Basis for the claim:    Trade debt - 163-165 East 62nd Street Associates
          Last 4 digits of account number                                    LLC
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,633.36
          GM Finanical Leasing                                                  Contingent
          PO Box 100                                                            Unliquidated
          Buffalo, NY 14231                                                     Disputed
          Date(s) debt was incurred 12/8/2016; 1/29/2016;
                                                                             Basis for the claim:    Auto Lease
          4/4/2016
          Last 4 digits of account number 7573                               Is the claim subject to offset?     No       Yes


 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,795.16
          GM Finanical Leasing                                                  Contingent
          PO Box 100                                                            Unliquidated
          Buffalo, NY 14231                                                     Disputed
          Date(s) debt was incurred 1/29/2016
                                                                             Basis for the claim:    Auto Lease
          Last 4 digits of account number 2222
                                                                             Is the claim subject to offset?     No       Yes




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 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,868.48
          GM Finanical Leasing                                                  Contingent
          PO Box 100                                                            Unliquidated
          Buffalo, NY 14231                                                     Disputed
          Date(s) debt was incurred 4/4/2016
                                                                             Basis for the claim:    Auto Lease
          Last 4 digits of account number 5430
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $420,000.00
          Golenbock, Eiseman, Assor                                             Contingent
           Bell & Peskoe                                                        Unliquidated
          711 Third Avenue                                                      Disputed
          New York, NY 10017
                                                                             Basis for the claim:    Legal fees - Michael D'Alessio
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $2,250,000.00
          Greater Hudson Bank                                                   Contingent
          715 E Route 304                                                       Unliquidated
          Nanuet, NY 10954                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Line of credit
          Last 4 digits of account number       2296
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,474.37
          Hilti Inc.                                                            Contingent
          P.O. Box 11870                                                        Unliquidated
          Newark, NJ 07101                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number       6413
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,525.00
          Infiniti Financial Services                                           Contingent
          PO Box 740596                                                         Unliquidated
          Cincinnati, OH 45274                                                  Disputed
          Date(s) debt was incurred 7/18/2016
                                                                             Basis for the claim:    Auto Lease
          Last 4 digits of account number 3115
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,063.12
          Irwin Associates Inc.                                                 Contingent
          247 W 37th St.                                                        Unliquidated
          Suite 1204                                                            Disputed
          New York, NY 10018
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $29,000.00
          J.S.K. Construction Corp.                                             Contingent
          130-26 Atlantic Avenue S.                                             Unliquidated
          South Richmond Hill, NY 11419                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - 323 East 53rd Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $248.98
          Janovic                                                               Contingent
          888 Lexington Avenue                                                  Unliquidated
          New York, NY 10065                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number       7298
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,250.00
          Jeffrey T. Butler, P.E. P.C.                                          Contingent
          206 Lincoln St.                                                       Unliquidated
          Riverhead, NY 11901                                                   Disputed
          Date(s) debt was incurred 1/13/2018
                                                                             Basis for the claim:    Trade debt - 3 Sandpiper Court LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,602.50
          Jeffrey T. Butler, P.E. P.C.                                          Contingent
          206 Lincoln St.                                                       Unliquidated
          Riverhead, NY 11901                                                   Disputed
          Date(s) debt was incurred 1/3/2018
                                                                             Basis for the claim:    Trade debt - 41 Middle Pond Road Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,515.00
          Jeffrey T. Butler, P.E. P.C.                                          Contingent
          206 Lincoln St.                                                       Unliquidated
          Riverhead, NY 11901                                                   Disputed
          Date(s) debt was incurred 1/3/2018
                                                                             Basis for the claim:    Trade debt - 43 Middle Pond Road Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,052.50
          Jeffrey T. Butler, P.E. P.C.                                          Contingent
          206 Lincoln St.                                                       Unliquidated
          Riverhead, NY 11901                                                   Disputed
          Date(s) debt was incurred 1/3/2018
                                                                             Basis for the claim:    Trade debt - 45 Middle Pond Road Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $171,565.79
          Jilco Window Corp.                                                    Contingent
          135 Mahopac Avenue                                                    Unliquidated
          Granite Springs, NY 10527                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number       0606
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,220.50
          Joseph Crocco Architect PC                                            Contingent
          4 MacDonald Avenue                                                    Unliquidated
          Suite 5                                                               Disputed
          Armonk, NY 10504
                                                                             Basis for the claim:    Trade debt - 3 Sandpiper Court LLC
          Date(s) debt was incurred 8/3/2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,283.50
          Joseph Crocco Architect PC                                            Contingent
          4 MacDonald Avenue                                                    Unliquidated
          Armonk, NY 10504                                                      Disputed
          Date(s) debt was incurred 10/20/2017
                                                                             Basis for the claim:    Trade debt - 41 Middle Pond Road Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,283.50
          Joseph Crocco Architect PC                                            Contingent
          4 MacDonald Avenue                                                    Unliquidated
          Armonk, NY 10504                                                      Disputed
          Date(s) debt was incurred 10/20/2017
                                                                             Basis for the claim:    Trade debt - 43 Middle Pond Road Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,436.25
          Joseph Crocco Architect PC                                            Contingent
          4 MacDonald Avenue                                                    Unliquidated
          Armonk, NY 10504                                                      Disputed
          Date(s) debt was incurred 10/20/2017
                                                                             Basis for the claim:    Trade debt - 45 Middle Pond Road Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,500.00
          Joseph Crocco Architect PC                                            Contingent
          4 MacDonald Avenue                                                    Unliquidated
          Armonk, NY 10504                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - Beechwood 5 Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,500.00
          Joseph Crocco Architect PC                                            Contingent
          4 MacDonald Avenue                                                    Unliquidated
          Armonk, NY 10504                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - 937 Post Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,570.43
          Leiberts Royal Green                                                  Contingent
          228 East Post Road                                                    Unliquidated
          White Plains, NY 10601                                                Disputed
          Date(s) debt was incurred 8/11/2017
                                                                             Basis for the claim:    Trade debt - DA1994 - 184 East 64th Street
          Last 4 digits of account number                                    Associates LLC
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $77,448.00
          Lippolis Electric Inc.                                                Contingent
          25 Seventh Street                                                     Unliquidated
          Pelham, NY 10803                                                      Disputed
          Date(s) debt was incurred      8/3/2016                            Basis for the claim:    Trade debt - 336 East 54th Street Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $74,400.00
          Lippolis Electric Inc.                                                Contingent
          25 Seventh Street                                                     Unliquidated
          Pelham, NY 10803                                                      Disputed
          Date(s) debt was incurred      8/24/2016                           Basis for the claim:    Trade debt - 323 East 53rd Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,058.00
          Lippolis Electric Inc.                                                Contingent
          25 Seventh Street                                                     Unliquidated
          Pelham, NY 10803                                                      Disputed
          Date(s) debt was incurred      10/20/2017                          Basis for the claim:    Trade debt - 184 East 64th Street Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,637.00
          Lippolis Electric Inc.                                                Contingent
          25 Seventh Street                                                     Unliquidated
          Pelham, NY 10803                                                      Disputed
          Date(s) debt was incurred      10/20/2017                          Basis for the claim:    Trade debt - 227 East 67th Street Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,950.00
          Lippolis Electric Inc.                                                Contingent
          25 Seventh Street                                                     Unliquidated
          Pelham, NY 10803                                                      Disputed
          Date(s) debt was incurred      4/3/2018                            Basis for the claim:    Trade debt - 41-45 MPR Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $272.18
          Masters Exterminating & Pest Control                                  Contingent
          10 Mineola Avenue                                                     Unliquidated
          Roslyn Heights, NY 11577                                              Disputed
          Date(s) debt was incurred 1/29/2018
                                                                             Basis for the claim:    Trade debt - 163-165 East 62nd Street Associates
          Last 4 digits of account number                                    LLC
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,042.52
          Mercedes Benz Financial                                               Contingent
          PO Box 5209                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred 3/27/2017
                                                                             Basis for the claim:    Auto Lease
          Last 4 digits of account number 2001
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,772.00
          Mercedes Benz Financial                                               Contingent
          PO Box 5209                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred 7/3/2017
                                                                             Basis for the claim:    Auto Lease
          Last 4 digits of account number 2001
                                                                             Is the claim subject to offset?     No       Yes




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 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $643.74
          Mr. John Inc.                                                         Contingent
          PO Box 130                                                            Unliquidated
          Keasbey, NJ 08832                                                     Disputed
          Date(s) debt was incurred  1/3/2018                                Basis for the claim:    Trade debt
          Last 4 digits of account number 8536
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,525.00
          New Plumbing & Heating Corp.                                          Contingent
          1536 Stillwell Avenue                                                 Unliquidated
          Bronx, NY 10461                                                       Disputed
          Date(s) debt was incurred 12/16/2015
                                                                             Basis for the claim:    Trade debt - 184 East 64th Street Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $61,250.00
          New Plumbing & Heating Corp.                                          Contingent
          1536 Stillwell Avenue                                                 Unliquidated
          Bronx, NY 10461                                                       Disputed
          Date(s) debt was incurred 12/16/2015
                                                                             Basis for the claim:    Trade debt - 323 East 53rd Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,500.00
          New Plumbing & Heating Corp.                                          Contingent
          1536 Stillwell Avenue                                                 Unliquidated
          Bronx, NY 10461                                                       Disputed
          Date(s) debt was incurred 8/9/2017
                                                                             Basis for the claim:    Trade debt - 17 Circle Rd - MBI LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,750.00
          NFR/SO                                                                Contingent
          1560 Willow Drive                                                     Unliquidated
          East Marion, NY 11939                                                 Disputed
          Date(s) debt was incurred 11/22/2017
                                                                             Basis for the claim:    Trade debt - 41-45 MPR Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,630.00
          P.S. Electrical Contracting Corp.                                     Contingent
          628 Waverly Avenue                                                    Unliquidated
          Mamaroneck, NY 10543                                                  Disputed
          Date(s) debt was incurred 11/22/2017
                                                                             Basis for the claim:    Trade debt - 17 Circle Rd - MBI LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,965.00
          Planet Waste Services Inc.                                            Contingent
          59-12 57th Street                                                     Unliquidated
          Maspeth, NY 11378                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $484,139.00
          Ponce DeLeon Bank                                                     Contingent
          2244 Westchester Avenue                                               Unliquidated
          Bronx, NY 10462                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Line of credit
          Last 4 digits of account number       0577
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,819.87
          Pro Glass Solutions Corp.                                             Contingent
          53-16 39th Avenue                                                     Unliquidated
          Woodside, NY 11377                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - 184 East 64th Street Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,000.00
          R.W. Behan Contracting inc.                                           Contingent
          35 Smith Street                                                       Unliquidated
          Blue Point, NY 11715                                                  Disputed
          Date(s) debt was incurred 3/9/2018
                                                                             Basis for the claim:    Trade debt - 41 Middle Pond Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,000.00
          R.W. Behan Contracting inc.                                           Contingent
          35 Smith Street                                                       Unliquidated
          Blue Point, NY 11715                                                  Disputed
          Date(s) debt was incurred 3/9/2018
                                                                             Basis for the claim:    Trade debt - 45 Middle Pond Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,290.00
          Regional Testing Corp.                                                Contingent
          1150 Close Avenue                                                     Unliquidated
          Bronx, NY 10472                                                       Disputed
          Date(s) debt was incurred 11/30/2017
                                                                             Basis for the claim:    Trade debt - 163-165 East 62nd Street Associates
          Last 4 digits of account number                                    LLC
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,308.00
          Rosenberg & Estis, P.C.                                               Contingent
          733 Third Avenue                                                      Unliquidated
          New York, NY 10017                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,692.00
          Rufo A. Aria Corp.                                                    Contingent
          59 Hancock Street #1                                                  Unliquidated
          West Harrison, NY 10604                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - 184 East 64th Street Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $152,525.00
          RVB Construction Inc.                                                 Contingent
          32 Pasadena Place                                                     Unliquidated
          Mount Vernon, NY 10552                                                Disputed
          Date(s) debt was incurred 12/20/2017
                                                                             Basis for the claim:    Trade debt - 163-165 East 62nd Street Associates
          Last 4 digits of account number                                    LLC
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $236,555.00
          RVB Construction Inc.                                                 Contingent
          32 Pasadena Place                                                     Unliquidated
          Mount Vernon, NY 10552                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - 15 Circle Rd - MBI LLC & 17 Circle Rd -
          Last 4 digits of account number                                    MBI LLC
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,620.00
          S.R. Interiors, Inc.                                                  Contingent
          1051 Mile Suare Rd.                                                   Unliquidated
          Yonkers, NY 10704                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - 323 East 53rd Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $294,000.00
          SLC Construction Inc.                                                 Contingent
          79-01 Queens Blvd.                                                    Unliquidated
          Elmhurst, NY 11373                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - 163-165 East 62nd Street Associates
          Last 4 digits of account number                                    LLC
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,600.00
          Squares Holden Weisenbacher & Smith                                   Contingent
          46 Jagger Lane                                                        Unliquidated
          Southampton, NY 11968                                                 Disputed
          Date(s) debt was incurred 12/22/2017
                                                                             Basis for the claim:    Trade debt - 3 Sandpiper Court LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,525.00
          Squares Holden Weisenbacher & Smith                                   Contingent
          46 Jagger Lane                                                        Unliquidated
          Southampton, NY 11968                                                 Disputed
          Date(s) debt was incurred 12/21/2017
                                                                             Basis for the claim:    Trade debt - 41-45 MPR Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,279.07
          Tamarack Country Club                                                 Contingent
          55 Locust Rd.                                                         Unliquidated
          Greenwich, CT 06831                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt -D148
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Michael Paul Enterprises LLC                                                            Case number (if known)
              Name

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $879,526.45
          The Westchester Bank                                                  Contingent
          12 Water Street                                                       Unliquidated
          White Plains, NY 10601                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Line of credit
          Last 4 digits of account number       7410
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $207,446.58
          Thyssen Krupp Elevator Americas                                       Contingent
          519 8th Avenue                                                        Unliquidated
          New York, NY 10018                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,000.00
          Times Building PC                                                     Contingent
          85-34 Grand Avenue                                                    Unliquidated
          Elmhurst, NY 11373                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $29,800.00
          Total Comfort Inc.                                                    Contingent
          44 Kenosia Avenue                                                     Unliquidated
          Danbury, CT 06810                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - 17 Circle Rd - MBI LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,465.01
          Trilogix Consulting LLC                                               Contingent
          500 N. Franklin Tpke                                                  Unliquidated
          Suite 216                                                             Disputed
          Ramsey, NJ 07446
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,500.00
          Tuchman Korngold Weiss Liebman                                        Contingent
           & Linde                                                              Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Trade debt - 163-165 East 62nd Street Associates
                                                                             LLC
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,741.50
          Twomey, Latham, Shea, Kelley, Dubin & Qu                              Contingent
          33 West Second Street                                                 Unliquidated
          P.O. Box 9398                                                         Disputed
          Riverhead, NY 11901
                                                                             Basis for the claim:    Legal fees - 41-45 MPR Associates LLC
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 16 of 18
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 Debtor       Michael Paul Enterprises LLC                                                            Case number (if known)
              Name

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,797.34
          United Overhead Door Corp.                                            Contingent
          21 A Saw Mill River Road                                              Unliquidated
          Yonkers, NY 10701                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt- 17 Circle Rd - MBI LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $55,000.00
          Up Construction & Restoration Inc.                                    Contingent
          396 Kent Avenue                                                       Unliquidated
          Lindenhurst, NY 11757                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - 323 East 53rd Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $68,566.00
          Vail Associates Architects                                            Contingent
          59 W 94th Street                                                      Unliquidated
          New York, NY 10025                                                    Disputed
          Date(s) debt was incurred 6/27/2016
                                                                             Basis for the claim:    Trade debt - 163-165 East 62nd Street Associates
          Last 4 digits of account number                                    LLC
                                                                             Is the claim subject to offset?     No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,540.00
          Vail Associates Architects                                            Contingent
          59 W 94th Street                                                      Unliquidated
          New York, NY 10025                                                    Disputed
          Date(s) debt was incurred 7/20/2016
                                                                             Basis for the claim:    Trade debt - 145-147 East 62nd Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,514.86
          Virtual Services                                                      Contingent
                                                                                Unliquidated
          New York, NY 10018                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - 323 East 53rd Street Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,232.08
          Wayside Fence Co.                                                     Contingent
          63 Third Avenue                                                       Unliquidated
          Bay Shore, NY 11706                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,000.00
          Window Fix Inc.                                                       Contingent
          335-347 38th Street                                                   Unliquidated
          Brooklyn, NY 11232                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - 323 East 53rd Street Associates LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 17 of 18
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 Debtor       Michael Paul Enterprises LLC                                                            Case number (if known)
              Name

 3.117     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $30,056.00
           Yorkshire Stone Inc.                                                 Contingent
           175 Marcus Blvd.                                                     Unliquidated
           Hauppauge, NY 11788                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt - 184 East 64th Street Associates LLC
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       Cullen and Dykman LLP
           100 Quentin Roosevelt Blvd                                                                 Line     3.56
           Garden City, NY 11530
                                                                                                             Not listed. Explain

 4.2       Emmet Marvin & Martin LLP
           120 Broadway                                                                               Line     3.103
           New York, NY 10271
                                                                                                             Not listed. Explain

 4.3       Meyer Suozzi English & Klein P
           1180 Ave of Americas                                                                       Line     3.13
           Suite 1920
                                                                                                             Not listed. Explain
           New York, NY 10036


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                          0.00
 5b. Total claims from Part 2                                                                            5b.    +     $                 10,843,143.43

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.          $                    10,843,143.43




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 18 of 18
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 Fill in this information to identify the case:

 Debtor name         Michael Paul Enterprises LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.        State what the contract or                   2015 GMC Savana Van
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                6/29/2020
                                                                                       Ally
             List the contract number of any                                           P.O. Box 9001948
                   government contract       024923315845                              Louisville, KY 40290


 2.2.        State what the contract or                   GMC 2017 Yukon SUV
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                3/8/2020
                                                                                       GM Finanical Leasing
             List the contract number of any                                           PO Box 100
                   government contract       0170257573                                Buffalo, NY 14231


 2.3.        State what the contract or                   GMC 2016 Yukon SUV
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                4/29/2019
                                                                                       GM Finanical Leasing
             List the contract number of any                                           PO Box 100
                   government contract       0170242222                                Buffalo, NY 14231


 2.4.        State what the contract or                   Cadillac Escalade 2016
             lease is for and the nature of               SUV
             the debtor's interest

                  State the term remaining                7/4/2019
                                                                                       GM Finanical Leasing
             List the contract number of any                                           PO Box 100
                   government contract       0170245430                                Buffalo, NY 14231




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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 Debtor 1 Michael Paul Enterprises LLC                                                           Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.5.        State what the contract or                   Infinity 2016 SUV
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                10/17/2019
                                                                                         Infiniti Financial Services
             List the contract number of any                                             PO Box 740596
                   government contract       29009893115                                 Cincinnati, OH 45274


 2.6.        State what the contract or                   S550 Mercedes Benz
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                9/27/2019
                                                                                         Mercedes Benz Financial
             List the contract number of any                                             PO Box 5209
                   government contract       5000403212001                               Carol Stream, IL 60197


 2.7.        State what the contract or                   GLK Mercedes Benz
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                7/31/2020
                                                                                         Mercedes Benz Financial
             List the contract number of any                                             PO Box 5209
                   government contract       5000521352001                               Carol Stream, IL 60197


 2.8.        State what the contract or                   Postage machine
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                4/9/2019
                                                                                         Pitney Bowes
             List the contract number of any                                             P.O. Box 371887
                   government contract       17196920                                    Pittsburgh, PA 15250




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Michael Paul Enterprises LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      145-147 East                      Associates LLC 12 Water St                        Vail Associates                    D
             62nd Street                       Suite 204                                         Architects                         E/F       3.113
                                               White Plains, NY 10601
                                                                                                                                    G




    2.2      15 Circle Rd -                    12 Water Street                                   Cuddy & Feder LLP                  D
             MBI LLC                           Suite 204                                                                            E/F       3.28
                                               White Plains, NY 10601
                                                                                                                                    G




    2.3      15 Circle Rd -                    12 Water Street                                   RVB Construction                   D
             MBI LLC                           Suite 204                                         Inc.                               E/F       3.97
                                               White Plains, NY 10601
                                                                                                                                    G




    2.4      163-165 East                      Associates LLC 12 Water St                        Allstate Sprinkler                 D
             62nd Street                       Suite 204                                         Corp.                              E/F       3.5
                                               White Plains, NY 10601
                                                                                                                                    G




Official Form 206H                                                        Schedule H: Your Codebtors                                       Page 1 of 15
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 Debtor       Michael Paul Enterprises LLC                                               Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.5      163-165 East                      Associates LLC 12 Water St                     Celtic Services NYC           D
             62nd Street                       Suite 204                                      Inc.                          E/F       3.21
                                               White Plains, NY 10601
                                                                                                                            G




    2.6      163-165 East                      Associates LLC 12 Water St                     Dominick R. Pilla             D
             62nd Street                       Suite 204                                      Associates PC                 E/F       3.35
                                               White Plains, NY 10601
                                                                                                                            G




    2.7      163-165 East                      Associates LLC 12 Water St                     Gabor M. Szakal               D
             62nd Street                       Suite 204                                      Consulting                    E/F       3.48
                                               White Plains, NY 10601                         Engineers, PC
                                                                                                                            G




    2.8      163-165 East                      Associates LLC 12 Water St                     Masters                       D
             62nd Street                       Suite 204                                      Exterminating & Pest          E/F       3.79
                                               White Plains, NY 10601                         Control
                                                                                                                            G




    2.9      163-165 East                      Associates LLC 12 Water St                     Regional Testing              D
             62nd Street                       Suite 204                                      Corp.                         E/F       3.93
                                               White Plains, NY 10601
                                                                                                                            G




    2.10     163-165 East                      Associates LLC 12 Water St                     RVB Construction              D
             62nd Street                       Suite 204                                      Inc.                          E/F       3.96
                                               White Plains, NY 10601
                                                                                                                            G




    2.11     163-165 East                      Associates LLC 12 Water St                     SLC Construction              D
             62nd Street                       Suite 204                                      Inc.                          E/F       3.99
                                               White Plains, NY 10601
                                                                                                                            G




Official Form 206H                                                        Schedule H: Your Codebtors                               Page 2 of 15
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 Debtor       Michael Paul Enterprises LLC                                               Case number (if known)


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           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.12     163-165 East                      Associates LLC 12 Water St                     Thyssen Krupp                 D
             62nd Street                       Suite 204                                      Elevator Americas             E/F       3.104
                                               White Plains, NY 10601
                                                                                                                            G




    2.13     163-165 East                      Associates LLC 12 Water St                     Tuchman Korngold              D
             62nd Street                       Suite 204                                      Weiss Liebman                 E/F       3.108
                                               White Plains, NY 10601
                                                                                                                            G




    2.14     163-165 East                      Associates LLC 12 Water St                     Vail Associates               D
             62nd Street                       Suite 204                                      Architects                    E/F       3.112
                                               White Plains, NY 10601
                                                                                                                            G




    2.15     17 Circle Rd -                    12 Water Street                                Angelo Spray Foam             D
             MBI LLC                           Suite 204                                      Corp.                         E/F       3.7
                                               White Plains, NY 10601
                                                                                                                            G




    2.16     17 Circle Rd -                    12 Water Street                                Cuddy & Feder LLP             D
             MBI LLC                           Suite 204                                                                    E/F       3.28
                                               White Plains, NY 10601
                                                                                                                            G




    2.17     17 Circle Rd -                    12 Water Street                                Daimler Construction          D
             MBI LLC                           Suite 204                                      LLC                           E/F       3.29
                                               White Plains, NY 10601
                                                                                                                            G




    2.18     17 Circle Rd -                    12 Water Street                                DWS Interiors Inc.            D
             MBI LLC                           Suite 204                                                                    E/F       3.39
                                               White Plains, NY 10601
                                                                                                                            G




Official Form 206H                                                        Schedule H: Your Codebtors                               Page 3 of 15
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 Debtor       Michael Paul Enterprises LLC                                               Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.19     17 Circle Rd -                    12 Water Street                                Eastern Metal Works           D
             MBI LLC                           Suite 204                                      Inc.                          E/F       3.41
                                               White Plains, NY 10601
                                                                                                                            G




    2.20     17 Circle Rd -                    12 Water Street                                New Plumbing &                D
             MBI LLC                           Suite 204                                      Heating Corp.                 E/F       3.85
                                               White Plains, NY 10601
                                                                                                                            G




    2.21     17 Circle Rd -                    12 Water Street                                P.S. Electrical               D
             MBI LLC                           Suite 204                                      Contracting Corp.             E/F       3.87
                                               White Plains, NY 10601
                                                                                                                            G




    2.22     17 Circle Rd -                    12 Water Street                                RVB Construction              D
             MBI LLC                           Suite 204                                      Inc.                          E/F       3.97
                                               White Plains, NY 10601
                                                                                                                            G




    2.23     17 Circle Rd -                    12 Water Street                                Total Comfort Inc.            D
             MBI LLC                           Suite 204                                                                    E/F       3.106
                                               White Plains, NY 10601
                                                                                                                            G




    2.24     17 Circle Rd -                    12 Water Street                                United Overhead               D
             MBI LLC                           Suite 204                                      Door Corp.                    E/F       3.110
                                               White Plains, NY 10601
                                                                                                                            G




    2.25     184 East 64th                     Associates LLC 12 Water St                     Cancos Tile and               D
             Street                            Suite 204                                      Stone                         E/F       3.15
                                               White Plains, NY 10601
                                                                                                                            G




Official Form 206H                                                        Schedule H: Your Codebtors                               Page 4 of 15
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            Additional Page to List More Codebtors
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            Column 1: Codebtor                                                          Column 2: Creditor



    2.26     184 East 64th                     Associates LLC 12 Water St                     Carefree Air & Water          D
             Street                            Suite 204                                      Management Inc.               E/F       3.18
                                               White Plains, NY 10601
                                                                                                                            G




    2.27     184 East 64th                     Associates LLC 12 Water St                     Daimler Construction          D
             Street                            Suite 204                                      LLC                           E/F       3.30
                                               White Plains, NY 10601
                                                                                                                            G




    2.28     184 East 64th                     Associates LLC 12 Water St                     Fort Cica                     D
             Street                            Suite 204                                                                    E/F       3.46
                                               White Plains, NY 10601
                                                                                                                            G




    2.29     184 East 64th                     Associates LLC 12 Water St                     Leiberts Royal Green          D
             Street                            Suite 204                                                                    E/F       3.73
                                               White Plains, NY 10601
                                                                                                                            G




    2.30     184 East 64th                     Associates LLC 12 Water St                     Lippolis Electric Inc.        D
             Street                            Suite 204                                                                    E/F       3.76
                                               White Plains, NY 10601
                                                                                                                            G




    2.31     184 East 64th                     Associates LLC 12 Water St                     New Plumbing &                D
             Street                            Suite 204                                      Heating Corp.                 E/F       3.83
                                               White Plains, NY 10601
                                                                                                                            G




    2.32     184 East 64th                     Associates LLC 12 Water St                     Pro Glass Solutions           D
             Street                            Suite 204                                      Corp.                         E/F       3.90
                                               White Plains, NY 10601
                                                                                                                            G




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 Debtor       Michael Paul Enterprises LLC                                               Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.33     184 East 64th                     Associates LLC 12 Water St                     Yorkshire Stone Inc.          D
             Street                            Suite 204                                                                    E/F       3.117
                                               White Plains, NY 10601
                                                                                                                            G




    2.34     227 E 67th Street                 LLC 12 Water Street                            Lippolis Electric Inc.        D
             Associates                        Suite 204                                                                    E/F       3.77
                                               White Plains, NY 10601
                                                                                                                            G




    2.35     3 Sandpiper                       12 Water St                                    Dominick R. Pilla             D
             Court LLC                         Suite 204                                      Associates PC                 E/F       3.36
                                               White Plains, NY 10601
                                                                                                                            G




    2.36     3 Sandpiper                       12 Water St                                    Jeffrey T. Butler, P.E.       D
             Court LLC                         Suite 204                                      P.C.                          E/F       3.62
                                               White Plains, NY 10601
                                                                                                                            G




    2.37     3 Sandpiper                       12 Water St                                    Joseph Crocco                 D
             Court LLC                         Suite 204                                      Architect PC                  E/F       3.67
                                               White Plains, NY 10601
                                                                                                                            G




    2.38     3 Sandpiper                       12 Water St                                    Squares Holden                D
             Court LLC                         Suite 204                                      Weisenbacher &                E/F       3.100
                                               White Plains, NY 10601                         Smith
                                                                                                                            G




    2.39     323 East 53rd                     12 Water Street                                AirSeal Insulation            D
             Associates LLC                    Suite 204                                      Systems                       E/F       3.2
                                               White Plains, NY 10601
                                                                                                                            G




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 Debtor       Michael Paul Enterprises LLC                                               Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.40     323 East 53rd                     12 Water Street                                All Star Security &           D
             Associates LLC                    Suite 204                                      Communications Inc.           E/F       3.3
                                               White Plains, NY 10601
                                                                                                                            G




    2.41     323 East 53rd                     12 Water Street                                Allstate Sprinkler            D
             Associates LLC                    Suite 204                                      Corp.                         E/F       3.4
                                               White Plains, NY 10601
                                                                                                                            G




    2.42     323 East 53rd                     12 Water Street                                Blackman Plumbing             D
             Associates LLC                    Suite 204                                                                    E/F       3.9
                                               White Plains, NY 10601
                                                                                                                            G




    2.43     323 East 53rd                     12 Water Street                                Carefree Air & Water          D
             Associates LLC                    Suite 204                                      Management Inc.               E/F       3.17
                                               White Plains, NY 10601
                                                                                                                            G




    2.44     323 East 53rd                     12 Water Street                                City Ironsmith Corp.          D
             Associates LLC                    Suite 204                                                                    E/F       3.22
                                               White Plains, NY 10601
                                                                                                                            G




    2.45     323 East 53rd                     12 Water Street                                Consolidated                  D
             Associates LLC                    Suite 204                                      Scaffold & Bridge             E/F       3.24
                                               White Plains, NY 10601                         Corp.
                                                                                                                            G




    2.46     323 East 53rd                     12 Water Street                                Daimler Construction          D
             Associates LLC                    Suite 204                                      LLC                           E/F       3.31
                                               White Plains, NY 10601
                                                                                                                            G




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            Column 1: Codebtor                                                          Column 2: Creditor



    2.47     323 East 53rd                     12 Water Street                                Dominick R. Pilla             D
             Associates LLC                    Suite 204                                      Associates PC                 E/F       3.37
                                               White Plains, NY 10601
                                                                                                                            G




    2.48     323 East 53rd                     12 Water Street                                DWS Interiors Inc.            D
             Associates LLC                    Suite 204                                                                    E/F       3.38
                                               White Plains, NY 10601
                                                                                                                            G




    2.49     323 East 53rd                     12 Water Street                                Erwin & Bielinski,            D
             Associates LLC                    Suite 204                                      PLLC                          E/F       3.44
                                               White Plains, NY 10601
                                                                                                                            G




    2.50     323 East 53rd                     12 Water Street                                Irwin Associates Inc.         D
             Associates LLC                    Suite 204                                                                    E/F       3.59
                                               White Plains, NY 10601
                                                                                                                            G




    2.51     323 East 53rd                     12 Water Street                                J.S.K. Construction           D
             Associates LLC                    Suite 204                                      Corp.                         E/F       3.60
                                               White Plains, NY 10601
                                                                                                                            G




    2.52     323 East 53rd                     12 Water Street                                Lippolis Electric Inc.        D
             Associates LLC                    Suite 204                                                                    E/F       3.75
                                               White Plains, NY 10601
                                                                                                                            G




    2.53     323 East 53rd                     12 Water Street                                New Plumbing &                D
             Associates LLC                    Suite 204                                      Heating Corp.                 E/F       3.84
                                               White Plains, NY 10601
                                                                                                                            G




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            Column 1: Codebtor                                                          Column 2: Creditor



    2.54     323 East 53rd                     12 Water Street                                S.R. Interiors, Inc.          D
             Associates LLC                    Suite 204                                                                    E/F       3.98
                                               White Plains, NY 10601
                                                                                                                            G




    2.55     323 East 53rd                     12 Water Street                                Up Construction &             D
             Associates LLC                    Suite 204                                      Restoration Inc.              E/F       3.111
                                               White Plains, NY 10601
                                                                                                                            G




    2.56     323 East 53rd                     12 Water Street                                Virtual Services              D
             Associates LLC                    Suite 204                                                                    E/F       3.114
                                               White Plains, NY 10601
                                                                                                                            G




    2.57     323 East 53rd                     12 Water Street                                Window Fix Inc.               D
             Associates LLC                    Suite 204                                                                    E/F       3.116
                                               White Plains, NY 10601
                                                                                                                            G




    2.58     41Middle Pond                     LLC 12 Water St                                Case's Creek                  D
             Road Associates                   Suite 204                                                                    E/F       3.20
                                               White Plains, NY 10601
                                                                                                                            G




    2.59     41Middle Pond                     LLC 12 Water St                                Jeffrey T. Butler, P.E.       D
             Road Associates                   Suite 204                                      P.C.                          E/F       3.63
                                               White Plains, NY 10601
                                                                                                                            G




    2.60     41Middle Pond                     LLC 12 Water St                                Joseph Crocco                 D
             Road Associates                   Suite 204                                      Architect PC                  E/F       3.68
                                               White Plains, NY 10601
                                                                                                                            G




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            Column 1: Codebtor                                                          Column 2: Creditor



    2.61     41Middle Pond                     LLC 12 Water St                                Lippolis Electric Inc.        D
             Road Associates                   Suite 204                                                                    E/F       3.78
                                               White Plains, NY 10601
                                                                                                                            G




    2.62     41Middle Pond                     LLC 12 Water St                                R.W. Behan                    D
             Road Associates                   Suite 204                                      Contracting inc.              E/F       3.91
                                               White Plains, NY 10601
                                                                                                                            G




    2.63     41Middle Pond                     LLC 12 Water St                                Squares Holden                D
             Road Associates                   Suite 204                                      Weisenbacher &                E/F       3.101
                                               White Plains, NY 10601                         Smith
                                                                                                                            G




    2.64     41Middle Pond                     LLC 12 Water St                                Twomey, Latham,               D
             Road Associates                   Suite 204                                      Shea, Kelley, Dubin &         E/F       3.109
                                               White Plains, NY 10601                         Qu
                                                                                                                            G




    2.65     43 Middle Pond                    LLC 12 Water Street                            Case's Creek                  D
             Road Associates                   Suite 204                                                                    E/F       3.20
                                               White Plains, NY 10601
                                                                                                                            G




    2.66     43 Middle Pond                    LLC 12 Water Street                            Jeffrey T. Butler, P.E.       D
             Road Associates                   Suite 204                                      P.C.                          E/F       3.64
                                               White Plains, NY 10601
                                                                                                                            G




    2.67     43 Middle Pond                    LLC 12 Water Street                            Joseph Crocco                 D
             Road Associates                   Suite 204                                      Architect PC                  E/F       3.69
                                               White Plains, NY 10601
                                                                                                                            G




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    2.68     43 Middle Pond                    LLC 12 Water Street                            Lippolis Electric Inc.        D
             Road Associates                   Suite 204                                                                    E/F       3.78
                                               White Plains, NY 10601
                                                                                                                            G




    2.69     43 Middle Pond                    LLC 12 Water Street                            Squares Holden                D
             Road Associates                   Suite 204                                      Weisenbacher &                E/F       3.101
                                               White Plains, NY 10601                         Smith
                                                                                                                            G




    2.70     43 Middle Pond                    LLC 12 Water Street                            Twomey, Latham,               D
             Road Associates                   Suite 204                                      Shea, Kelley, Dubin &         E/F       3.109
                                               White Plains, NY 10601                         Qu
                                                                                                                            G




    2.71     45 Middle Pond                    LLC 12 Water Street                            Case's Creek                  D
             Road Associates                   Suite 204                                                                    E/F       3.20
                                               White Plains, NY 10601
                                                                                                                            G




    2.72     45 Middle Pond                    LLC 12 Water Street                            Jeffrey T. Butler, P.E.       D
             Road Associates                   Suite 204                                      P.C.                          E/F       3.65
                                               White Plains, NY 10601
                                                                                                                            G




    2.73     45 Middle Pond                    LLC 12 Water Street                            Joseph Crocco                 D
             Road Associates                   Suite 204                                      Architect PC                  E/F       3.70
                                               White Plains, NY 10601
                                                                                                                            G




    2.74     45 Middle Pond                    LLC 12 Water Street                            Lippolis Electric Inc.        D
             Road Associates                   Suite 204                                                                    E/F       3.78
                                               White Plains, NY 10601
                                                                                                                            G




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            Column 1: Codebtor                                                          Column 2: Creditor



    2.75     45 Middle Pond                    LLC 12 Water Street                            R.W. Behan                    D
             Road Associates                   Suite 204                                      Contracting inc.              E/F       3.92
                                               White Plains, NY 10601
                                                                                                                            G




    2.76     45 Middle Pond                    LLC 12 Water Street                            Squares Holden                D
             Road Associates                   Suite 204                                      Weisenbacher &                E/F       3.101
                                               White Plains, NY 10601                         Smith
                                                                                                                            G




    2.77     45 Middle Pond                    LLC 12 Water Street                            Twomey, Latham,               D
             Road Associates                   Suite 204                                      Shea, Kelley, Dubin &         E/F       3.109
                                               White Plains, NY 10601                         Qu
                                                                                                                            G




    2.78     Beechwood 5                       12 Water Street                                Cuddy & Feder LLP             D
             Associates LLC                    Suite 204                                                                    E/F       3.27
                                               White Plains, NY 10601
                                                                                                                            G




    2.79     Beechwood 5                       12 Water Street                                Joseph Crocco                 D
             Associates LLC                    Suite 204                                      Architect PC                  E/F       3.71
                                               White Plains, NY 10601
                                                                                                                            G




    2.80     Katsura                           12 Water Street                                Cuddy & Feder LLP             D
             Consulting                        Suite 201                                                                    E/F       3.26
             Group LLC                         White Plains, NY 10601
                                                                                                                            G




    2.81     Michael P.                        265 East 66th Street                                                         D
             D'Alessio                         Apt. 28F                                                                     E/F
                                               New York, NY 10065                                                           G




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    2.82     Michael P.                        12 Water Street                                Adam Leitman Bailey           D
             D'Alessio                         Suite 204                                      PC                            E/F       3.1
                                               White Plains, NY 10601
                                                                                                                            G




    2.83     Michael P.                        12 Water Street                                Ally                          D
             D'Alessio                         Suite 204                                                                    E/F       3.6
                                               White Plains, NY 10601
                                                                                                                            G




    2.84     Michael P.                        12 Water Street                                Bank of America               D
             D'Alessio                         Suite 204                                                                    E/F       3.8
                                               White Plains, NY 10601
                                                                                                                            G




    2.85     Michael P.                        12 Water Street                                Bridgehampton                 D
             D'Alessio                         Suite 204                                      National Bank                 E/F       3.13
                                               White Plains, NY 10601
                                                                                                                            G




    2.86     Michael P.                        12 Water Street                                Cuddy & Feder LLP             D
             D'Alessio                         Suite 204                                                                    E/F       3.26
                                               White Plains, NY 10601
                                                                                                                            G




    2.87     Michael P.                        12 Water Street                                Cuddy & Feder LLP             D
             D'Alessio                         Suite 204                                                                    E/F       3.27
                                               White Plains, NY 10601
                                                                                                                            G




    2.88     Michael P.                        12 Water Street                                Cuddy & Feder LLP             D
             D'Alessio                         Suite 204                                                                    E/F       3.28
                                               White Plains, NY 10601
                                                                                                                            G




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            Column 1: Codebtor                                                          Column 2: Creditor



    2.89     Michael P.                        12 Water Street                                GM Finanical Leasing          D
             D'Alessio                         Suite 204                                                                    E/F       3.52
                                               White Plains, NY 10601
                                                                                                                            G




    2.90     Michael P.                        12 Water Street                                GM Finanical Leasing          D
             D'Alessio                         Suite 204                                                                    E/F       3.53
                                               White Plains, NY 10601
                                                                                                                            G




    2.91     Michael P.                        12 Water Street                                GM Finanical Leasing          D
             D'Alessio                         Suite 204                                                                    E/F       3.54
                                               White Plains, NY 10601
                                                                                                                            G




    2.92     Michael P.                        12 Water Street                                Golenbock, Eiseman,           D
             D'Alessio                         Suite 204                                      Assor                         E/F       3.55
                                               White Plains, NY 10601
                                                                                                                            G




    2.93     Michael P.                        12 Water Street                                Greater Hudson Bank           D
             D'Alessio                         Suite 204                                                                    E/F       3.56
                                               White Plains, NY 10601
                                                                                                                            G




    2.94     Michael P.                        12 Water Street                                Infiniti Financial            D
             D'Alessio                         Suite 204                                      Services                      E/F       3.58
                                               White Plains, NY 10601
                                                                                                                            G




    2.95     Michael P.                        12 Water Street                                Mercedes Benz                 D
             D'Alessio                         Suite 204                                      Financial                     E/F       3.80
                                               White Plains, NY 10601
                                                                                                                            G




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    2.96     Michael P.                        12 Water Street                                Mercedes Benz                 D
             D'Alessio                         Suite 204                                      Financial                     E/F       3.81
                                               White Plains, NY 10601
                                                                                                                            G




    2.97     Michael P.                        12 Water Street                                Ponce DeLeon Bank             D
             D'Alessio                         Suite 204                                                                    E/F       3.89
                                               White Plains, NY 10601
                                                                                                                            G




    2.98     Michael P.                        12 Water Street                                Rosenberg & Estis,            D
             D'Alessio                         Suite 204                                      P.C.                          E/F       3.94
                                               White Plains, NY 10601
                                                                                                                            G




    2.99     Michael P.                        12 Water Street                                Tamarack Country              D
             D'Alessio                         Suite 204                                      Club                          E/F       3.102
                                               White Plains, NY 10601
                                                                                                                            G




    2.10     Michael P.                        12 Water Street                                The Westchester               D
    0        D'Alessio                         Suite 204                                      Bank                          E/F       3.103
                                               White Plains, NY 10601
                                                                                                                            G




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 Fill in this information to identify the case:

 Debtor name         Michael Paul Enterprises LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                  Unknown
       From 1/01/2018 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                                  Unknown
       From 1/01/2017 to 12/31/2017
                                                                                                   Other


       For year before that:                                                                       Operating a business                           $25,748,683.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               P.S. Electrical Contracting Corp.                           1/17/2018                        $19,000.00           Secured debt
               628 Waverly Avenue                                                                                                Unsecured loan repayments
               Mamaroneck, NY 10543                                                                                              Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.2.
               AirSeal Insulation Systems                                  1/19/2018                        $24,000.00           Secured debt
               1961 Utica Avenue                                                                                                 Unsecured loan repayments
               Brooklyn, NY 11234                                                                                                Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.3.
               Capital Industries Corp.                                    2/23/2018                          $7,000.00          Secured debt
               555 Saw Mill River Rd.                                                                                            Unsecured loan repayments
               Yonkers, NY 10701
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.4.
               Rogliano Construction & Contracting                         2/27/2018                        $10,000.00           Secured debt
               Corp                                                                                                              Unsecured loan repayments
               67 Purdy Avenue                                                                                                   Suppliers or vendors
               Port Chester, NY 10573
                                                                                                                                 Services
                                                                                                                                 Other


       3.5.
               Angelo Spray Foam Corp.                                     3/19/2018                        $10,000.00           Secured debt
               22 Sherman Avenue                                                                                                 Unsecured loan repayments
               Suite 4L                                                                                                          Suppliers or vendors
               New York, NY 10040
                                                                                                                                 Services
                                                                                                                                 Other


       3.6.
               Rogliano Construction & Contracting                         3/19/2018                          $8,005.00          Secured debt
               Corp                                                                                                              Unsecured loan repayments
               67 Purdy Avenue                                                                                                   Suppliers or vendors
               Port Chester, NY 10573
                                                                                                                                 Services
                                                                                                                                 Other


       3.7.
               DWS Interiors Inc.                                          3/19/2018                        $16,700.00           Secured debt
               PO Box 2                                                                                                          Unsecured loan repayments
               Water Mill, NY 11976                                                                                              Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.8.
               Blackman Plumbing                                           3/19/2018                          $9,990.55          Secured debt
               PO Box 9400                                                                                                       Unsecured loan repayments
               Uniondale, NY 11555-9400
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.9.
               RVB Construction Inc.                                       3/20/218                         $29,445.00                Secured debt
               32 Pasadena Place                                                                                                      Unsecured loan repayments
               Mount Vernon, NY 10552                                                                                                 Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.10
       .
            Daimler Construction LLC                                       3/20/2018                        $10,000.00                Secured debt
               155 Fox Hill Drive                                                                                                     Unsecured loan repayments
               Hackettstown, NJ 07840                                                                                                 Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.11
       .
            P.S. Electrical Contracting Corp.                              3/20/2018                        $10,000.00                Secured debt
               628 Waverly Avenue                                                                                                     Unsecured loan repayments
               Mamaroneck, NY 10543                                                                                                   Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.12
       .
            East End Country Kitchens Cabinets                             4/3/2018                         $40,000.00                Secured debt
               Inc.                                                                                                                   Unsecured loan repayments
               121 Edwards Avenue                                                                                                     Suppliers or vendors
               Calverton, NY 11933
                                                                                                                                      Services
                                                                                                                                      Other


       3.13
       .
            Cuddy & Feder LLP                                              4/20/2018                        $23,062.38                Secured debt
               445 Hamilton Avenue                                                                                                    Unsecured loan repayments
               White Plains, NY 10601                                                                                                 Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

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           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken
       The Westchester Bank                                                                                                    3/7/2018                   $70,596.66
       12 Water Street                                           Last 4 digits of account number:    2633
       White Plains, NY 10601

       The Westchester Bank                                                                                                    3/7/2018                     $9,630.69
       12 Water Street                                           Last 4 digits of account number:    2666
       White Plains, NY 10601

       The Westchester Bank                                                                                                    3/7/2018                   $37,523.62
       12 Water Street                                           Last 4 digits of account number:    7191
       White Plains, NY 10601

       Bridgehampton National Bank                                                                                             11/3/2017                $103,532.06
       2200 Montauk Highway                                      Last 4 digits of account number:    1263
       Bridgehampton, NY 11932

       Bridgehampton National Bank                                                                                             11/3/2017                $285,205.14
       2200 Montauk Highway                                      Last 4 digits of account number:    455
       Bridgehampton, NY 11932


 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case            Court or agency's name and                Status of case
               Case number                                                                 address
       7.1.    Rella Fogliano, Marilyn                                                     Supreme Court, County of                        Pending
               Shendell, Attis Properties Inc,                                             Westchester                                     On appeal
               Glen Feller, Joshua Brown,                                                  111 Dr. Martin Luther King
                                                                                                                                           Concluded
               Angie Brown, Philip                                                         Blvd.
               Goldstein, Ellen Goldstein &                                                White Plains, NY 10601
               Sanley Company
               v.
               145-147 East 62nd Street
               Holding LLC, 145-147 East
               62nd Street Associates LLC,
               Michael P. D'Alessio, Anthony
               Carbone, Michael Paul
               Enterprises LLC and FCP 145
               Holding LLC
               53635/2018




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 Debtor       Michael Paul Enterprises LLC                                                              Case number (if known)



               Case title                                        Nature of case            Court or agency's name and             Status of case
               Case number                                                                 address
       7.2.    Rella Fogliano, Joseph Breda,                                               Supreme Court, County of                  Pending
               Marilyn Shendell & Attis                                                    Westchester                               On appeal
               Properties Inc, RNG WEA                                                     111 Dr. Martin Luther King
                                                                                                                                     Concluded
               LLC, Jacqueline Martinez,                                                   Blvd.
               Douglas Scibelli, Joshua                                                    White Plains, NY 10601
               Brown, Angie Brown, Philip
               Goldstein, Ellen Goldstein,
               Robert Cicero, Keith Hummel
               & Philip Healy
               v.
               163-165 East 62nd Street
               Holding LLC & Bluestone
               163-165 LLC, Michael Paul
               D'Alessio, Michael Paul
               Enterprises LLC and 163-165
               East 62nd Associates LLC
               53540/2018

       7.3.    East 64th Street Realty                                                     Supreme Court, County of                  Pending
               Partners LLV                                                                Westchester                               On appeal
               v.                                                                          111 Dr. Martin Luther King
                                                                                                                                     Concluded
               184 East 64th Street Holding                                                Blvd.
               LLC & Bluestone 184 LLC,                                                    White Plains, NY 10601
               Michael Paul D'Alessio,
               Michael Paul Enterprises LLC
               and 184 East 64th Associates
               LLC
               53547/2018

       7.4.    Stacey Gendels, Bonni                                                       Supreme Court, County of                  Pending
               Stanley, Marilyn Shendell,                                                  Westchester                               On appeal
               Attis Properties Inc, Philip                                                111 Dr. Martin Luther King
                                                                                                                                     Concluded
               Goldstein, Ellen Goldstein                                                  Blvd.
               Robert Cicero & Keith                                                       White Plains, NY 10601
               Hummel
               v.
               227 E 67th Street Holding LLC
               & Bluestone 67 LLC, Michael
               Paul D'Alessio, Michael Paul
               Enterprises LLC and 227 East
               67th Associates LLC
               53520/2018

       7.5.    Ronald Marchand Jr.                                                         Supreme Court, County of                  Pending
               v.                                                                          New York                                  On appeal
               227 E. 67th Street Holding                                                  60 Centre Street
                                                                                                                                     Concluded
               LLC, Michael P. D'Alessio                                                   New York, NY 10007
               450396/2018




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 Debtor       Michael Paul Enterprises LLC                                                              Case number (if known)



               Case title                                        Nature of case            Court or agency's name and             Status of case
               Case number                                                                 address
       7.6.    The Mautner-Glick Profit                                                    Supreme Court, County of                  Pending
               Corp. Sharing Plans,                                                        New York                                  On appeal
               Individually and Deivatively                                                60 Centre Street
                                                                                                                                     Concluded
               on Behalf of 184 East 64th                                                  New York, NY 10007
               Street Holding LLC and 227
               East 67th Holding LLC
               v.
               Michael Paul D'Alessio,
               Michael Paul Enterprises, 184
               East 64th Street Holding LLC,
               184 East 64th Street
               Associates LLC, Bluestone
               184 LLC, 227 East 67th Street
               Holding LLC and 227 East
               67th Street Associates LLC
               651184/2018

       7.7.    BNB Bank, as                                                                Supreme Court, County of                  Pending
               successor-in-interest to                                                    Suffork                                   On appeal
               Bridgehampton National Bank                                                 1 Court Street
                                                                                                                                     Concluded
               v.                                                                          Riverhead, NY 11901
               Michael Paul Enterprises LLC
               and Michael D'Alessio
               604688/2018

       7.8.    The Westchester Bank                                                        Supreme Court, County of                  Pending
               v.                                                                          Westchester                               On appeal
               Michael P. D'Alessio A/K/A                                                  111 Dr. Martin Luther King
                                                                                                                                     Concluded
               Michael P. Dalessio and                                                     Blvd.
               Michael Paul Enterprises LLC                                                White Plains, NY 10601
               53400/2018

       7.9.    Herminio Torres and Barbara                                                 Supreme Court, County of                  Pending
               Vega                                                                        New York                                  On appeal
               v.                                                                          60 Centre Street
                                                                                                                                     Concluded
               Michael P. D'Alessio, Michael                                               New York, NY 10007
               Paul Enterprises LLC, 163-165
               East 62nd Street Holding LLC,
               163-165 East 62nd Street
               Associates LLC, Bluestone
               163-165 LLC, 43 Middle Pond
               Road LLC, 43 Middle Pond
               Road Holding LLC
               651423/2018

       7.10 Attis Prperties Inc, Keith                                                     Supreme Court, County of                  Pending
       .    Hummel & Philip Healy                                                          Westchester                               On appeal
               v.                                                                          111 Dr. Martin Luther King
                                                                                                                                     Concluded
               41-45 MPR Holding LLC, 41                                                   Blvd.
               Middle Pond Road Associates                                                 White Plains, NY 10601
               LLC, 43 Middle Pond Road
               Associates LLC, 45 Middle
               Pond Road Associates LLC,
               Michael Paul D'Alessio,
               Michael Paul Enterprises LLC
               & 3700 Tremont Associates
               Inc
               54513/2018




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 Debtor      Michael Paul Enterprises LLC                                                               Case number (if known)



               Case title                                        Nature of case            Court or agency's name and             Status of case
               Case number                                                                 address
       7.11 Marilyn Shendell, Attis                                                        Supreme Court, County of                  Pending
       .    Properties Inc & Keith                                                         Westchester                               On appeal
               Hummel                                                                      111 Dr. Martin Luther King
                                                                                                                                     Concluded
               v.                                                                          Blvd.
               3 Sandpiper Court Holding                                                   White Plains, NY 10601
               LLC, 3 Sandpiper Court LLC,
               Michael Paul D'Alessio,
               Michael Paul Enterprises LLC
               & Bluestone Sandpiper LLC
               54501/2018

       7.12 Planned Security Services Inc                                                  Supreme Court, County of                  Pending
       .    v.                                                                             Essex                                     On appeal
               Michael Paul D'Alessio,                                                     50 West Market Street
                                                                                                                                     Concluded
               Michael Paul Enterprises LLC,                                               Newark, NJ 07102
               336 East 54 Street Associates
               LLC, 336 East 54 Street
               Associates Holding LLC
               ESX-L-2709-17

       7.13 554 E 82nd Associates LLC,                                                     Supreme Court, County of                  Pending
       .    225 East 81 Street Associates                                                  Westchester                               On appeal
               LLC, 230 E 63rd Associates                                                  111 Dr. Martin Luther King
                                                                                                                                     Concluded
               LLC and Michael Paul                                                        Blvd.
               Enterprises LLC                                                             White Plains, NY 10601
               v.
               Peter Grotto Jr., Peter Grotto
               Plumbing and Heating Inc,
               Grotto Plumbing Inc and
               Grotto Holding Corp
               71144/15

       7.14 Attis Properties Inc, Joshua                                                   Supreme Court, County of                  Pending
       .    Brown, Angie Brown, Philip                                                     Westchester                               On appeal
               Goldstein, Ellen Goldstein &                                                111 Dr. Martin Luther King
                                                                                                                                     Concluded
               Sanley Company                                                              Blvd.
               v.                                                                          White Plains, NY 10601
               15-17 Circle Holding LLC, 15
               Circle Rd-MBI LLC, 17 Circle
               Rd-MBI LLC, Michael P.
               D'Alessio, William Orrico,
               Michael Paul Enterprises LLC
               & MBI Partners LLC
               54583/2018

       7.15 Ponce Bank, formerly known                                                     Supreme Court, County of                  Pending
       .    as Ponce De Leon Federal                                                       Westchester                               On appeal
               Bank                                                                        111 Dr. Martin Luther King
                                                                                                                                     Concluded
               v.                                                                          Blvd.
               Michael Paul Enterprises LLC                                                White Plains, NY 10601
               & Michael P. D'Alessio
               Index: 56085/2018

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions


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 Debtor        Michael Paul Enterprises LLC                                                                 Case number (if known)



9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                    Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss     Value of property
       how the loss occurred                                                                                                                               lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates           Total amount or
                the transfer?                                                                                                                           value
                Address
       11.1.    Rosen & Associates, P.C.
                747 Third Avenue
                New York, NY 10017                                                                                             5/14/2018             $5,000.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers       Total amount or
                                                                                                                         were made                      value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                     Date transfer      Total amount or
               Address                                           payments received or debts paid in exchange                was made                    value

 Part 7:       Previous Locations

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 Debtor        Michael Paul Enterprises LLC                                                             Case number (if known)



14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services          If debtor provides meals
                                                                 the debtor provides                                                   and housing, number of
                                                                                                                                       patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred
       18.1.     Bridgehampton National                          XXXX-1263                   Checking                 11/6/2017                              $0.00
                 Bank                                                                        Savings
                 2200 Montauk Highway
                                                                                             Money Market
                 Bridgehampton, NY 11932
                                                                                             Brokerage
                                                                                             Other

       18.2.     Bridgehampton National                          XXXX-455                    Checking                 11/6/2017                              $0.00
                 Bank                                                                        Savings
                 2200 Montauk Highway
                                                                                             Money Market
                 Bridgehampton, NY 11932
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
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 Debtor      Michael Paul Enterprises LLC                                                               Case number (if known)



    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.



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       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Anthony Capeci, CPA                                                                                                        2006 - present
                    1160 East Jericho Turnpike
                    Suite 217
                    Huntington, NY 11743

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Michael Paul D'Alessio                         c/o Aspen Management Group LLC                                                                    100%
                                                      3140 East Tremont Avenue
                                                      2nd Floor
                                                      Bronx, NY 10461


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 Debtor      Michael Paul Enterprises LLC                                                               Case number (if known)




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 See attached.
       .

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         May 30, 2018

 /s/ Michael P. D'Alessio                                               Michael P. D'Alessio
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re       Michael Paul Enterprises LLC                                                                     Case No.
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     5,000.00
             Prior to the filing of this statement I have received                                        $                     5,000.00
             Balance Due                                                                                  $                         0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               N/A
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     May 30, 2018                                                                /s/ Sanford P. Rosen
     Date                                                                        Sanford P. Rosen (SR-4966)
                                                                                 Signature of Attorney
                                                                                 Rosen & Associates, P.C.
                                                                                 747 Third Avenue
                                                                                 Floor 20
                                                                                 New York, NY 10017-2803
                                                                                 (212) 223-1100 Fax: (212) 223-1102
                                                                                 srosen@rosenpc.com
                                                                                 Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Michael Paul Enterprises LLC                                                                 Case No.
                                                                                   Debtor(s)             Chapter      7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Managing Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       May 30, 2018                                               /s/ Michael P. D'Alessio
                                                                        Michael P. D'Alessio/Managing Member
                                                                        Signer/Title




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                           145-147 EAST 62ND STREET
                           ASSOCIATES LLC 12 WATER ST
                           SUITE 204
                           WHITE PLAINS, NY 10601


                           15 CIRCLE RD - MBI LLC
                           12 WATER STREET
                           SUITE 204
                           WHITE PLAINS, NY 10601


                           163-165 EAST 62ND STREET
                           ASSOCIATES LLC 12 WATER ST
                           SUITE 204
                           WHITE PLAINS, NY 10601


                           17 CIRCLE RD - MBI LLC
                           12 WATER STREET
                           SUITE 204
                           WHITE PLAINS, NY 10601


                           184 EAST 64TH STREET
                           ASSOCIATES LLC 12 WATER ST
                           SUITE 204
                           WHITE PLAINS, NY 10601


                           227 E 67TH STREET ASSOCIATES
                           LLC 12 WATER STREET
                           SUITE 204
                           WHITE PLAINS, NY 10601


                           3 SANDPIPER COURT LLC
                           12 WATER ST
                           SUITE 204
                           WHITE PLAINS, NY 10601


                           323 EAST 53RD ASSOCIATES LLC
                           12 WATER STREET
                           SUITE 204
                           WHITE PLAINS, NY 10601


                           41MIDDLE POND ROAD ASSOCIATES
                           LLC 12 WATER ST
                           SUITE 204
                           WHITE PLAINS, NY 10601
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                       43 MIDDLE POND ROAD ASSOCIATES
                       LLC 12 WATER STREET
                       SUITE 204
                       WHITE PLAINS, NY 10601


                       45 MIDDLE POND ROAD ASSOCIATES
                       LLC 12 WATER STREET
                       SUITE 204
                       WHITE PLAINS, NY 10601


                       ADAM LEITMAN BAILEY PC
                       ONE BATTERY PARK
                       NEW YORK, NY 10271


                       AIRSEAL INSULATION SYSTEMS
                       1961 UTICA AVENUE
                       BROOKLYN, NY 11234


                       ALL STAR SECURITY & COMMUNICATIONS INC.
                       P.O. BOX 494
                       FISHKILL, NY 12524


                       ALLSTATE SPRINKLER CORP.
                       1869 WHITE PLAINS RD.
                       BRONX, NY 10462


                       ALLY
                       P.O. BOX 9001948
                       LOUISVILLE, KY 40290


                       ANGELO SPRAY FOAM CORP.
                       22 SHERMAN AVENUE
                       SUITE 4L
                       NEW YORK, NY 10040


                       BANK OF AMERICA
                       P.O. BOX 982238
                       EL PASO, TX 79998


                       BEECHWOOD 5 ASSOCIATES LLC
                       12 WATER STREET
                       SUITE 204
                       WHITE PLAINS, NY 10601
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                       BLACKMAN PLUMBING
                       PO BOX 9400
                       UNIONDALE, NY 11555-9400


                       BLUE TARP FINANCIAL INC.
                       PO BOX 105525
                       ATLANTA, GA 30348


                       BOSTON ROAD EQUIPMENT RENTAL
                       3211 BOSTON POST ROAD
                       BRONX, NY 10469


                       BRAGA HARDWOOD FLOORING INC.
                       89 TRENTON AVENUE
                       WHITE PLAINS, NY 10606


                       BRIDGEHAMPTON NATIONAL BANK
                       2200 MONTAUK HIGHWAY
                       BRIDGEHAMPTON, NY 11932


                       CANCOS TILE AND STONE
                       1085 PORTION ROAD
                       FARMINGVILLE, NY 11738


                       CAPITAL INDUSTRIES CORP.
                       555 SAW MILL RIVER RD.
                       YONKERS, NY 10701


                       CAREFREE AIR & WATER MANAGEMENT INC.
                       199 MERRICK RD.
                       LYNBROOK, NY 11563


                       CASE'S CREEK
                       P.O. BOX 56
                       JAMESPORT, NY 11947


                       CELTIC SERVICES NYC INC.
                       156 MT. VERNON AVENUE
                       SUITE 210
                       MOUNT VERNON, NY 10550


                       CITY IRONSMITH CORP.
                       131-14 SANFORD AVENUE
                       FLUSHING, NY 11355
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                       CONSOLIDATED SCAFFOLD & BRIDGE CORP.
                       3969 MERRITT AVENUE
                       BRONX, NY 10466


                       CUDDY & FEDER LLP
                       445 HAMILTON AVENUE
                       WHITE PLAINS, NY 10601


                       CULLEN AND DYKMAN LLP
                       100 QUENTIN ROOSEVELT BLVD
                       GARDEN CITY, NY 11530


                       DAIMLER CONSTRUCTION LLC
                       155 FOX HILL DRIVE
                       HACKETTSTOWN, NJ 07840


                       DANISI ENERGY COMPANY
                       3205 ROUTE 112
                       MEDFORD, NY 11763


                       DECORAMA BUILDING & PLUMBING SUPPLY
                       1233 METROPOLITAN AVENUE
                       BROOKLYN, NY 11237


                       DESPATCH OF SOUTHAMPTON M & S LLC
                       370 COUNTY ROAD 39
                       SUITE 4
                       SOUTHAMPTON, NY 11968


                       DOMINICK R. PILLA ASSOCIATES PC
                       23 DEPEW AVENUE
                       NYACK, NY 10960


                       DWS INTERIORS INC.
                       PO BOX 2
                       WATER MILL, NY 11976


                       EAST END COURTRY KITCHENS CABINETS INC.
                       121 EDWARDS AVENUE
                       CALVERTON, NY 11933


                       EASTERN METAL WORKS INC.
                       333 WOODMONT RD.
                       MILFORD, CT 06460
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                       EDGE & CORNER TILE & MARBLE
                       362 DECATUR AVENUE
                       SHIRLEY, NY 11967


                       EDWARD M. SHAPIRO, ATTONREY AT LAW
                       255 BROADWAY
                       SUITE 1515
                       NEW YORK, NY 10007


                       EMMET MARVIN & MARTIN LLP
                       120 BROADWAY
                       NEW YORK, NY 10271


                       ERWIN & BIELINSKI, PLLC
                       37 WEST 39TH ST
                       SUITE 1201
                       NEW YORK, NY 10018


                       FELDMAN LUMBER
                       1281 METROPOLITAN AVENUE
                       BROOKLYN, NY 11237


                       FORT CICA
                       720 EAST 141ST STREET
                       BRONX, NY 10454


                       GABOR M. SZAKAL CONSULTING ENGINEERS, PC
                       54 WEST 21ST ST.
                       NEW YORK, NY 10010


                       GABRIEL E. SENOR, P.C.
                       90 N CENTRAL AVENUE
                       SUITE 104
                       HARTSDALE, NY 10530


                       GC WAREHOUSE LLC
                       515 S 4TH AVENUE
                       MOUNT VERNON, NY 10550


                       GEOLAND CORP.
                       1317 PARK AVENUE
                       NEW HYDE PARK, NY 11040
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                       GM FINANICAL LEASING
                       PO BOX 100
                       BUFFALO, NY 14231


                       GOLENBOCK, EISEMAN, ASSOR
                        BELL & PESKOE
                       711 THIRD AVENUE
                       NEW YORK, NY 10017


                       GREATER HUDSON BANK
                       715 E ROUTE 304
                       NANUET, NY 10954


                       HILTI INC.
                       P.O. BOX 11870
                       NEWARK, NJ 07101


                       INFINITI FINANCIAL SERVICES
                       PO BOX 740596
                       CINCINNATI, OH 45274


                       IRWIN ASSOCIATES INC.
                       247 W 37TH ST.
                       SUITE 1204
                       NEW YORK, NY 10018


                       J.S.K. CONSTRUCTION CORP.
                       130-26 ATLANTIC AVENUE S.
                       SOUTH RICHMOND HILL, NY 11419


                       JANOVIC
                       888 LEXINGTON AVENUE
                       NEW YORK, NY 10065


                       JEFFREY T. BUTLER, P.E. P.C.
                       206 LINCOLN ST.
                       RIVERHEAD, NY 11901


                       JILCO WINDOW CORP.
                       135 MAHOPAC AVENUE
                       GRANITE SPRINGS, NY 10527
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                       JOSEPH CROCCO ARCHITECT PC
                       4 MACDONALD AVENUE
                       SUITE 5
                       ARMONK, NY 10504


                       JOSEPH CROCCO ARCHITECT PC
                       4 MACDONALD AVENUE
                       ARMONK, NY 10504


                       KATSURA CONSULTING GROUP LLC
                       12 WATER STREET
                       SUITE 201
                       WHITE PLAINS, NY 10601


                       LEIBERTS ROYAL GREEN
                       228 EAST POST ROAD
                       WHITE PLAINS, NY 10601


                       LIPPOLIS ELECTRIC INC.
                       25 SEVENTH STREET
                       PELHAM, NY 10803


                       MASTERS EXTERMINATING & PEST CONTROL
                       10 MINEOLA AVENUE
                       ROSLYN HEIGHTS, NY 11577


                       MERCEDES BENZ FINANCIAL
                       PO BOX 5209
                       CAROL STREAM, IL 60197


                       MEYER SUOZZI ENGLISH & KLEIN P
                       1180 AVE OF AMERICAS
                       SUITE 1920
                       NEW YORK, NY 10036


                       MICHAEL P. D'ALESSIO
                       265 EAST 66TH STREET
                       APT. 28F
                       NEW YORK, NY 10065


                       MICHAEL P. D'ALESSIO
                       12 WATER STREET
                       SUITE 204
                       WHITE PLAINS, NY 10601
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                       MR. JOHN INC.
                       PO BOX 130
                       KEASBEY, NJ 08832


                       NEW PLUMBING & HEATING CORP.
                       1536 STILLWELL AVENUE
                       BRONX, NY 10461


                       NFR/SO
                       1560 WILLOW DRIVE
                       EAST MARION, NY 11939


                       P.S. ELECTRICAL CONTRACTING CORP.
                       628 WAVERLY AVENUE
                       MAMARONECK, NY 10543


                       PITNEY BOWES
                       P.O. BOX 371887
                       PITTSBURGH, PA 15250


                       PLANET WASTE SERVICES INC.
                       59-12 57TH STREET
                       MASPETH, NY 11378


                       PONCE DELEON BANK
                       2244 WESTCHESTER AVENUE
                       BRONX, NY 10462


                       PRO GLASS SOLUTIONS CORP.
                       53-16 39TH AVENUE
                       WOODSIDE, NY 11377


                       R.W. BEHAN CONTRACTING INC.
                       35 SMITH STREET
                       BLUE POINT, NY 11715


                       REGIONAL TESTING CORP.
                       1150 CLOSE AVENUE
                       BRONX, NY 10472


                       ROSENBERG & ESTIS, P.C.
                       733 THIRD AVENUE
                       NEW YORK, NY 10017
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                       RUFO A. ARIA CORP.
                       59 HANCOCK STREET #1
                       WEST HARRISON, NY 10604


                       RVB CONSTRUCTION INC.
                       32 PASADENA PLACE
                       MOUNT VERNON, NY 10552


                       S.R. INTERIORS, INC.
                       1051 MILE SUARE RD.
                       YONKERS, NY 10704


                       SLC CONSTRUCTION INC.
                       79-01 QUEENS BLVD.
                       ELMHURST, NY 11373


                       SQUARES HOLDEN WEISENBACHER & SMITH
                       46 JAGGER LANE
                       SOUTHAMPTON, NY 11968


                       TAMARACK COUNTRY CLUB
                       55 LOCUST RD.
                       GREENWICH, CT 06831


                       THE WESTCHESTER BANK
                       12 WATER STREET
                       WHITE PLAINS, NY 10601


                       THYSSEN KRUPP ELEVATOR AMERICAS
                       519 8TH AVENUE
                       NEW YORK, NY 10018


                       TIMES BUILDING PC
                       85-34 GRAND AVENUE
                       ELMHURST, NY 11373


                       TOTAL COMFORT INC.
                       44 KENOSIA AVENUE
                       DANBURY, CT 06810


                       TRILOGIX CONSULTING LLC
                       500 N. FRANKLIN TPKE
                       SUITE 216
                       RAMSEY, NJ 07446
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                       TUCHMAN KORNGOLD WEISS LIEBMAN
                        & LINDE


                       TWOMEY, LATHAM, SHEA, KELLEY, DUBIN & QU
                       33 WEST SECOND STREET
                       P.O. BOX 9398
                       RIVERHEAD, NY 11901


                       UNITED OVERHEAD DOOR CORP.
                       21 A SAW MILL RIVER ROAD
                       YONKERS, NY 10701


                       UP CONSTRUCTION & RESTORATION INC.
                       396 KENT AVENUE
                       LINDENHURST, NY 11757


                       VAIL ASSOCIATES ARCHITECTS
                       59 W 94TH STREET
                       NEW YORK, NY 10025


                       VIRTUAL SERVICES
                       NEW YORK, NY 10018



                       WAYSIDE FENCE CO.
                       63 THIRD AVENUE
                       BAY SHORE, NY 11706


                       WINDOW FIX INC.
                       335-347 38TH STREET
                       BROOKLYN, NY 11232


                       YORKSHIRE STONE INC.
                       175 MARCUS BLVD.
                       HAUPPAUGE, NY 11788
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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Michael Paul Enterprises LLC                                                                  Case No.
                                                                                  Debtor(s)               Chapter      7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Michael Paul Enterprises LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 May 30, 2018                                                         /s/ Sanford P. Rosen
 Date                                                                 Sanford P. Rosen (SR-4966)
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for Michael Paul Enterprises LLC
                                                                      Rosen & Associates, P.C.
                                                                      747 Third Avenue
                                                                      Floor 20
                                                                      New York, NY 10017-2803
                                                                      (212) 223-1100 Fax:(212) 223-1102
                                                                      srosen@rosenpc.com




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